    Case:18-05288-EAG11 Doc#:3 Filed:09/13/18 Entered:09/13/18 11:09:15                                                              Desc: Ch 11
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 Information to identify the case:
 Debtor
                   SKYTEC INC                                                                  EIN 66−0564236
                   Name


 United States Bankruptcy Court District of Puerto Rico
                                                                                               Date case filed for chapter 11 9/12/18
 Case number: 18−05288 −ESL 11


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       SKYTEC INC


  2. All other names used in the
     last 8 years

                                              500 CARR 869
  3. Address                                  SUITE 501
                                              CATANO, PR 00962

                                              ALEXIS FUENTES HERNANDEZ                                   Contact phone (787) 722−5216
  4. Debtor's attorney                        FUENTES LAW OFFICES, LLC
      Name and address                        PO BOX 9022726                                             Email alex@fuentes−law.com
                                              SAN JUAN, PR 00902

  5. Bankruptcy clerk's office                                                                            Hours open 8:00 AM − 4:00 PM
      Documents in this case may be filed     Jose V Toledo Fed Bldg & US Courthouse
      at this address.                        300 Recinto Sur Street, Room 109                            Contact phone (787) 977−6000
      You may inspect all records filed in
      this case at this office or online at   San Juan, PR 00901
      www.pacer.gov.                                                                                      Date: 9/13/18

  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    October 19, 2018 at 11:00 AM
      attend the meeting to be questioned                                                                OCHOA BUILDING, 500 TANCA
      under oath.                         The meeting may be continued or adjourned to a later
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
                                                                                                         STREET , FIRST FLOOR, SAN JUAN,
      required to do so.                                                                                 PR 00901

                                                                                                           For more information, see page 2 >




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Debtor SKYTEC INC                                                                                                                Case number 18−05288


  7. Proof of claim deadline                  Deadline for filing proof of claim: 1/17/19 For a governmental unit: 3/12/19

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint:


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.




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